            Case 1:10-cv-11825-DJC Document 9 Filed 03/24/11 Page 1 of 2



UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                 :
Michael and Janice Tremblay,                     :
                                                 :
                      Plaintiffs,                :
       v.                                        :
                                                   Civil Action No.: 1:10-cv-11825
                                                 :
EOS CCA; and DOES 1-10, inclusive,               :
                                                 :
                                                 :
                      Defendants.                :
                                                 :

                                    NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiffs anticipate filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 30 days.


Dated: March 24, 2011

                                                  Respectfully submitted,

                                                  PLAINTIFFS, Michael and Janice Tremblay

                                                  /s/ Sergei Lemberg

                                                  Sergei Lemberg, Esq.
                                                  B.B.O. No.: 650671
                                                  LEMBERG & ASSOCIATES L.L.C.
                                                  1100 Summer Street, 3rd Floor
                                                  Stamford, CT 06905
                                                  Telephone: (203) 653-2250
                                                  Facsimile: (877) 795-3666
                                                  slemberg@lemberglaw.com
          Case 1:10-cv-11825-DJC Document 9 Filed 03/24/11 Page 2 of 2



                                CERTIFICATE OF SERVICE

        I hereby certify that on March 24, 2011, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Sergei Lemberg_________

                                                    Sergei Lemberg
